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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

oT
UNITED STATES OF AMERICA, No. CR @-1268-ODW

Plaintiff, PLEA AGREEMEN'T FOR EPIPFANTO MERCADO
Vv.

ALI KHALIL ELREDA, et al.,

Defendants.

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1. This constitutes the plea agreement between EPIFANIO
MERCADO (“defendant”) and the United States Attorney’s Office for
the Central District of California (“the USAO”) in the above-
captioned case. This agreement is limited to the USAO and cannot
bind any other federal, state or local prosecuting,

administrative or regulatory authorities.

 
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PLEA

 

es Defendant agrees to plead guilty to count one of the
indictment in United States v. Ali Elreda, et al.,
CR No. 07-1268-ODW.

NATURE OF THE OFFENSE

3. In order for defendant to be guilty of the crime
charged in count one of the indictment, which charges a violation
of Title 21, United States Code, Sections 846 and 841 (a) (1), the
following must be true: (1) There was an agreement between two or
more persons to commit one or more federal narcotics offenses (in
this case, to possess cocaine with intent to distribute and to
distribute cocaine); and (2) Defendant became a member of the
conspiracy knowing of at least one of its objects and intending
to help accomplish it.

4, Moreover, in order for defendant to be subject to the
statutory maximum and statutory minimum sentences set forth
below, the government must prove beyond a reasonable doubt that
the conspirators intended to possess with intent to distribute or
to distribute at least five kilograms of a mixture or substance
containing a detectable amount of cocaine, a Schedule IT narcotic
controlled substance. Defendant admits that, in fact, the
conspiracy possessed with intent to distribute and did distribute
over 5 kilograms of cocaine.

PENALTIES
. 5. The statutory maximum sentence that the Court can impose
for a violation of Title 21, United States Code, Sections 846 and
84l(a) (1) is: life imprisonment; a life term of supervised

release; a fine of $4,000,000 or twice the gross gain or gross

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less resulting from the offense, whichever is greatest; and a
mandatory special assessment of $100.

6. The statutory mandatory minimum sentence that the Court
must impose for a violation of Title 21, United States Code,
Sections 846 and 841(a})(1) with five or more kilograms of cocaine
is: ten years imprisonment, followed by five years of supervised
release.

7. Supervised release is a period of time following
imprisonment during which defendant will be subject to various
restrictions and requirements. Defendant understands that if
defendant violates one or more of the conditions of any
supervised release imposed, defendant may be returned to prison
for all or part of the term of supervised release, which could
result in defendant serving a total term of imprisonment greater
than the statutory maximum stated above.

8. Defendant also understands that, by pleading guilty,
defendant may be giving up valuable government benefits and
valuable civic rights, such as the right to vote, the right to
possess a firearm, the right to hold office, and the right to
serve on a jury.

9. Defendant further understands that the conviction in
this case may subject defendant to various collateral
consequences, including but not limited to deportation,
revocation of probation, parole, or supervised release in another
case, and suspension or revocation of a professional license.
Defendant understands that unanticipated collateral consequences

will not serve as grounds to withdraw defendant's guilty plea.

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PACTUAL BASIS

10. Defendant and the USAO agree and stipulate to the
statement of facts provided below. This statement of facts is
sufficient to support a plea of guilty to the charge described in
this agreement and to establish the sentencing guideline factors
set forth in paragraph 13 below. It is not meant to be a
complete recitation of all facts relevant to the underlying
eriminal conduct or ali facts known to either party that relate
to that conduct.

a) Beginning on or about August 6, 2006, and
continuing to at least December 9, 2006, in Los Angeles County,
within the Central District of California, and elsewhere,
defendant and co-defendants Robert Bell (“Belli”), Ricardo Nava
(“Nava”), Ali Khalil Elreda (“Elreda”), and others, conspired and
agreed with each other to knowingly and intentionally possess
with intent to distribute and distribute more than five kilograms
of cocaine.

b) On August 7, 2006, in a telephone conversation and
using coded language, defendant and Elreda discussed the sale of
cocaine by defendant to Bell. Bell wanted five kilograms of
cocaine, with an eventual delivery of up to fifteen kilograms at
later times.

c) Defendant caused the delivery by Nava of
approximately eight kilograms of cocaine to Bell on November 1,
2006. Nava was acting at the direction of defendant. The eight
kilograms subsequently were seized by law enforcement.

a) On November 29, 2006, defendant and Bell traveled

with others from Los Angeles, California, to Nashville, Tennessee

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for purposes of a drug deal. On December 1, 2006, Bell took
possession of approximately one kilogram of cocaine, $302,190 in
United States currency, and miscellaneous drug packaging
materials at 2211 Ladd Street, Clarksville, Tennessee, which
subsequently was seized by law enforcement officers.

qd} On December 9, 2006, an unindicted co-conspirator
transported approximately twenty kilograms of cocaine in
Wabaunsee County, Kansas, in his truck. The twenty kilograms
originally was intended to be delivered to Tennessee. The

unindicted co-conspirator was acting at the direction of

 

defendant.
WAIVER OF CONSTITUTIONAL RIGHTS
il. By pleading guilty, defendant gives up the following
rights:

a) The right to persist in a plea of not guilty.

b) The right to a speedy and public trial by jury.

c) The right to the assistance of legal counsel at
trial, including the right to have the Court appoint counsel for
defendant for the purpose of representation at trial. (In this
regard, defendant understands that, despite his plea of guilty,
he retains the right to be represented by counsel -- and, if
necessary, to have the court appoint counsel if defendant cannot
afford counsel -- at every other stage of the proceeding.)

da) The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant
guilty beyond a reasonable doubt.

e) The right to confront and cross-examine witnesses

against defendant.

 
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£) The right, if defendant wished, to testify on
defendant's own behalf and present evidence in opposition to the
charges, including the right to call witnesses and to subpoena
those witnesses to testify.

g) The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

By pleading guilty, defendant also gives up any and ali
rights to pursue any affirmative defenses, Fourth Amendment or
Fifth Amendment claims, and other pretrial motions that have been
filed or could be filed.

SENTENCING FACTORS

12. Defendant understands that the Court is required to
consider the factors set forth in 18 U.S.C. § 3553{(a)(1)-(7),
including the kinds of sentence and sentencing range established
under the United States Sentencing Guidelines ("U.S.S.G." or
“Sentencing Guidelines”), in determining defendant’s sentence.
Defendant further understands that the Sentencing Guidelines are
advisory only, and that after considering the Sentencing
Guidelines and the other § 3553(a) factors, the Court may be free
to exercise its discretion to impose any reasonable sentence up
to the maximum set by statute for the crimes of conviction.

13. Defendant and the USAO agree and stipulate to the
following applicable Sentencing Guidelines factors:

Base Offense Level : 34 iU.8.5.G. § 2D1.1(¢} (3)]

{Between 15 and 50

kilograms of cocaine)

Role adjustment : +2 {U.S.S.G. § 3B1.1(c]

Acceptance cf

 
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Responsibility : -3 [U.S.S.G. §3E1.1(b)]

 

Total Offense Level : 33
The USAO will agree to a downward adjustment for acceptance of
responsibility (and, if applicabie, move for an additional level
under § 3F1.1{(b)) only if the conditions set forth in paragraph
18(b) are met. Subject to paragraph 15, defendant and the USAO
agree not to seek, argue, or suggest in any way, either orally or
in writing, that any other specific offense characteristics,
adjustments or departures, relating to either the applicable
Offense Level or the Criminal History Category, be imposed. If,
however, after signing this agreement but prior to sentencing,
defendant were to commit an act, or the USAO were to discover a
previously undiscovered act committed by defendant prior to
Signing this agreement, which act, in the judgment of the USAO,
constituted obstruction of justice within the meaning of U.S.5.G.
§ 3Cl1.1, the USAO would be free to seek the enhancement set forth
in that section.

14. There is no agreement as to defendant’s criminal
history or criminal history category.

15. Defendant and the USAO, pursuant to the factors set
forth in 18 U.S.C. § 3553(a) (1), (a) (2), (a) (3), (a) (6), and
(a} (7), further reserve the right to argue for a sentence outside
the sentencing range established by the Sentencing Guidelines.

16. The stipulations in this agreement do not bind either
the United States Probation Office or the Court. Both defendant
and the USAO are free to: (a) supplement the facts by supplying

relevant information to the United States Probation Office and

 

 
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the Court, (b) correct any and all factual misstatements relating
to the calculation of the sentence, and (cc) argue on appeal and
collateral review that the Court’s Sentencing Guidelines
calculations are not error, although each party agrees to
Maintain its view that the calculations in paragraph 13 are
consistent with the facts of this case.
DEFENDANT'S OBLIGATIONS

17. Defendant agrees that he will:

a) Plead guilty as set forth in this agreement.

b}) Not knowingly and willfully fail to abide by all
sentencing stipulations contained in this agreement.

c} Not knowingly and willfully fail to: (1) appear for
all court appearances, (ii) surrender as ordered for service of
sentence, (iii) obey all conditions of any bond, and (iv) obey
any other ongoing court order in this matter.

Ga) Not commit any crime; however, offenses which would
be excluded for sentencing purposes under U.S.S.G. § 4Al.2(c}) are
not within the scope of this agreement.

e) Not knowingly and willfully fail to be truthful at
all times with Pretrial Services, the U.S. Probation Office, and
the Court.

f) Pay the applicable special assessment at or before
the time of sentencing unless defendant lacks the ability to pay
and submits a completed financial statement (form OBD-500) to the
USAO prior to sentencing.

THE USAO’S OBLIGATIONS
18. If defendant complies fully with all defendant’s

obligations under this agreement, the USAO agrees:

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a) To abide by all sentencing stipulations contained
in this agreement.

b) At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up
to and including the time of sentencing, to recommend a two-level
reduction in the applicable sentencing guideline offense level,
pursuant to U.S.8.G. § 3E1.1, and to recommend and, if necessary,
move for an additional one-level reduction if availabie under
that section.

c} In connection with defendant's sentencing, to

bring to the Court's attention any relevant facts relating to the

sentencing factors contained in 18 U.S.C. § 3553(a) (1), (a) (2),
(a) (3), (a) (6), and (a) (7).
a) If defendant's adjusted offense level under the

Sentencing Guidelines is level 33 or higher, the government will
recommend a sentence at the low end of the applicable Guideline
range.
BREACH OF AGREEMENT

19. If defendant, at any time after the execution of this
agreement, knowingly violates or fails to perform any of
defendant's agreements or obligations under this agreement (“a
breach”), the USAO may declare this agreement breached. If the
USAO declares this agreement breached at any time following its
execution, and the Court finds such a breach to have occurred,
then: (a) if defendant has previously entered a guilty plea,
defendant will not be able to withdraw the guilty plea, and (b)
the USAO will be relieved of all of its obligations under this

agreement.

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20. Following the Court’s finding of a knowing and willful
breach of this agreement by defendant, should the USAO elect to
pursue any charge that was either dismissed or not filed as a
result of this agreement, then:

a) Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of
this agreement and the commencement of any such prosecution or
action.

b) Defendant gives up all defenses based on the
statute of limitations, any claim of pre-indictment delay, or any
speedy trial claim with respect to any such prosecution, except
to the extent that such defenses existed as of the date of
Gefendant’s signing this agreement.

c) Defendant agrees that: (i) any statements made by
defendant, under oath, at the guilty plea hearing (if such a
hearing occurred prior to the breach); (ii) the stipulated
factual basis statement in this agreement; and (iii) any evidence
derived from such statements, are admissible against defendant in
any such prosecution of defendant, and defendant shall assert no
claim under the United States Constitution, any statute, Rule 410
of the Federal Rules of Evidence, Rule 12(f) of the Federal Rules
of Criminal Procedure, or any other federal rule, that the
statements or any evidence derived from any statements should be
suppressed or are inadmissible.

LIMITED MUTUAL WATVER OF APPEAL AND COLLATERAL ATTACK

21. Defendant gives up the right to appeal any sentence
imposed by the Court, and the manner in which the sentence is

determined, provided that the sentence is within the statutory

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maximum specified above, is constitutional, and is no greater
than 168 months. Defendant also gives up any right to bring a
post-conviction collateral attack on the conviction or sentence,
except a post-conviction collateral attack based on a claim of
ineffective assistance of counsel, a claim of newly discovered
evidence, or an explicitly retroactive change in the applicable
Sentencing Guidelines, sentencing statutes, or statutes of
conviction.

22. The USAO gives up its right to appeal the sentence,
provided that the sentence is within the statutory maximum
specified above, is constitutional, and is 120 months or greater.

COURT NOT A PARTY

23. The Court is not a party to this agreement and need not
accept any of the USAO’s sentencing recommendations or the
parties’ stipulations. Even if the Court ignores any sentencing
recommendation, finds facts or reaches conclusions different from
any stipulation, and/or imposes any sentence up to the maximum
established by statute, defendant cannot, for that reason,
withdraw defendant’s quilty plea, and defendant will remain bound
to fulfill all defendant's obligations under this agreement. No
one -- not the prosecutor, defendant’s attorney, or the Court --
can make a binding prediction or promise regarding the sentence
defendant will receive, except that it will be within the
statutory maximum.

NO ADDITIONAL AGREEMENTS

24. Except as set forth herein, there are no promises,

understandings or agreements between the USAO and defendant or

defendant’s counsel. Nor may any additional agreement,

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understanding or condition be entered into unless in a writing
signed by all parties or on the record in court.
PLEA AGREEMENT PART OF TRE GUILTY PLEA HEARING

25. The parties agree and stipulate that this Agreement
will be considered part of the record of defendant’s guilty plea
hearing as if the entire Agreement had been read into the record
of the proceeding.

This agreement is effective upon signature by defendant and
an Assistant United States Attorney.
AGREED AND ACCEPTED

UNITED STATES ATTORNEY’S OFFICE
FOR THE CENTRAL DISTRICT OF CALTPORNIA

THOMAS P. O'BRIEN
United States Attorney

Cds LR g/.2/o8

PATRICK R. FEEZGERALD ‘Bate
Assistant United States Attorney

I have read this agreement and carefully discussed every
part of it with my attorney. JI understand the terms of this
agreement, and I voluntarily agree to those terms. My attorney
has advised me of my rights, of possible defenses, of the
sentencing factors set forth in 18 U.S.C. § 3553(a), of the
relevant Sentencing Guidelines provisions, and of the
consequences of entering into this agreement. No promises or
inducements have been given to me other than those contained in
this agreement. No one has threatened or forced me in any way to
enter into this agreement. Finally, I am satisfied with the

representation of my attorney in this matter.

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EBIFANIO MERCADO Date
Defendant

 

I am Epifanio Mercado’s attorney. I have carefully
discussed every part of this agreement with my client. Further,
I have fully advised my client of his rights, of possible
defenses, of the sentencing factors set forth in 18 U.S.C. §
3553(a), of the relevant Sentencing Guidelines provisions, and of
the consequences of entering into this agreement. To my
knowledge, my client’s decision to enter into this agreement is

an informed and voluntary one.

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MICHAEL ROGER McDONYE LL Date
Counsel for R McDONyE
Epifanio Mercado

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